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                          IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA                                    CRIMINAL NO.         22-


                                                            DATE FILED:

TRANQTJILINO LEON.VASQUEZ,                                  VIOLATION:
    a/k/a "Tranquilino Leon,"                               8 U.S.C. $ 1326(a)
    a/k/a "Enin Alexander Vasquez-Rodas,"                   (reentry after deportation-1 count)
    a/k/a "Elvin Vasquez"

                                            INDICT}IENT

                                             COUNT ONE

THE GRAND JURY CHARGES THAT:

              On or about   April 1,2017 , in the Eastem District of Pennsylvania, defendant

                                 TRANQUILINO LEON.VASQTIEZ,
                                    a/k/a "Tranquilino Leon,'
                                    a/k/a "Ervin Alexander Vasquez-Rodas,"
                                    a/k/a "Elvin Vasquez,"

an alien, and native and citizen ofHonduras, who had previously been deported and removed from the

United States on or about March 18,2004 and September 16,2004, was found in the United States,

having knowingly and unlawfully reentered the United States without first applying to the Attomey

General ofthe United States or his successor, the Secretary for Homeland Security (Title 6, United

States Code, Sections 202(3), (4) and 557), for permission to reapply for admission, and without

receiving in response the express consent ofthe Attomey General or his successor to reapply for

admission.
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          In violation of Title 8, United States Code, Section 1326(a).



                                                A TRUE BILL:




                                  {^
JENNIFER ARBITTIER WILLIAMS
United States Attomey




                                               ,)
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UNITED STATES DISTRICT COURT

                                    Eastern District of Pennsvlvania


                                                Crinrinal Division


                          THE UNITED STATES OF AMERICA


                                      TRANQr..r r1-tNO I-EON -VASQUEZ,
                                         a/k/a o'Tranquilino Leon,"
                                  a/k/a "Ervin Alexander Vasquez-Rodas,"
                                            a/k/a "Elvin Vasquez"


                                                   INDICTMENT

                                                           Counts
                       8 U.S.C. $ 1326(a) (reentry after deportation-   l   count)




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